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           ORDERED in the Southern District of Florida on May 13, 2019.




                                                                   A. Jay Cristol, Judge
                                                                   United States Bankruptcy Court
_____________________________________________________________________________
                                     UNITED STATES BANKRUPTCY COURT
                                       SOUTHERN DISTRICT OF FLORIDA

          IN RE:                                                 CASE NO. 13-28727-BKC-AJC

          RODDY REYES,                                           Chapter 13

                   Debtor.
                                                           /

                                             ORDER TO SHOW CAUSE

                   THIS CAUSE came before the Court sua sponte upon the Court’s “Notice of Requirement

          to File Debtor’s Certification of Completion of Post-Petition Instructional Course Concerning

          Personal Financial Management” dated October 7, 2013 [D.E. 35] (“Notice”). The Notice states,

          in pertinent part:

                   “[a] debtor (both debtors in a joint case) must complete an instructional course in
                   personal financial management in order to receive a discharge . . . under chapter
                   13 [11 U.S.C. § 1328(g)(1)] the debtor must complete and file the “DEBTOR'S
                   CERTIFICATION OF COMPLETION OF POST-PETITION INSTRUCTIONAL
                   COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT”. . .In a
                   chapter 13 case, the form must be filed no later than the date of the last payment
                   made as required by the plan or the filing of a motion for entry of a discharge under
                   § 1328(b) . . . Failure to file the certification may result in the case being closed
                   without an entry of discharge.”
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       Despite service of the Notice upon the Debtor and counsel, the parties have neglected to file

the required certification. The Debtor has completed the plan payments and the Court believes that

it would be prejudicial to the Debtor to close the case without the issuance of a discharge for failure

to cure the deficiency set forth above.

       Therefore, it is

        ORDERED AND ADJUDGED:

        A hearing will be held on June 18, 2019 at 9:00 a.m. in Courtroom 7, C. Clyde Atkins

United States Courthouse, 301 North Miami Avenue, Miami, Florida, at which attorney Ricardo

Corona is directed to appear and show cause why the case should not be closed without a discharge

for failure to file the Certificate of Completion of Financial Management Course (Official

Bankruptcy Form 23). Failure to appear at the hearing or to file the required certificates by the above

date shall result in this case being closed without a discharge without any further notice or hearing.

If the required document is filed by the Debtor or the Debtor’s attorney prior to the hearing

then the Debtor’s attorney may upload an Order Discharging the Order to Show Cause and

Cancelling the Hearing.

                                                ###

Copy to:

Copy to:

Roddy Reyes, Debtor
Ricardo Corona, Esq.
Nancy K. Neidich, Chapter 13 Trustee
